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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                   )
KAREN FELD,                                        )
                                                   )
                  Plaintiff                        )
                  Counterclaim-Defendant,          )
           v.                                      )
                                                   )
KENNETH FELD,                                      )
                                                   )
                  Defendant                        )
                  Counterclaim-Plaintiff.          )
                                                             Civil Action No. 1:09-CV-00479-ESH
                                                   )
                                                   )
KENNETH FELD,                                      )
                                                   )
                  Third-Party Plaintiff,           )
       v.                                          )
                                                   )
CHARLES F. SMITH,                                  )
                                                   )
                  Third-Party Defendant.           )
                                                   )

                                      JOINT STATUS REPORT

           Undersigned counsel, on behalf of Defendant Kenneth Feld, Plaintiff Karen Feld and

Third-Party Defendant Charles F. Smith, submits this joint status report pursuant to the Court’s

December 22, 2010 Order. The statements set forth herein as the “positions” of Plaintiff and

Defendant were prepared independently by counsel for Plaintiff and Defendant. Counsel for

Third-Party Defendant Charles F. Smith had no comment.

           1.     Subject to the issues described below, the parties have agreed that a Settlement

and Release Agreement, along with various attached documents, is required to effectuate the

terms of the settlement. The parties have committed to prepare and finalize this agreement and

its attachments within thirty (30) days of the January 21, 2011 status conference, i.e., on or


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before February 21, 2011, and respectfully request that the Court set another status conference on

or after that date. Plaintiff is of the view that any Settlement Agreement must be faithful to the

terms the parties agreed to in open court, and that no terms be added by either party unless

necessary to effectuate the settlement. Defendant agrees that the Settlement Agreement must be

faithful to the terms that the parties have agreed.

           2.   The parties have not agreed on the following two (2) issues and respectfully

request the Court’s assistance to resolve them:

                (a)    Special Master. The parties agree that a special master should be

appointed to resolve any objections that Plaintiff may raise to any disbursements from the Israel

Feld Trust (exclusive of distributions to beneficiaries) during the period since Defendant became

sole Trustee of the Trust.

                       (i)        Plaintiff’s position. Plaintiff has nominated Michael F. Curtin for

this position. Mr. Curtin is currently a member of the law firm Curtin Law Roberson Dunigan &

Salans. Mr. Curtin has chaired the Trusts and Estates Division of the DC Bar and is a nationally

recognized expert in the field.

                       (ii)       Defendant’s position. Defendant has nominated the Honorable

Rufus J. King, III (Ret.) for this position. Judge King is currently with the McCammon Group

and, among other positions, is the former Chief Judge of the Superior Court of the District of

Columbia. Defendant contends that Judge King is better qualified to be the special master given

his extensive experience in adjudicating disputed matters, including trusts and estates matters.

Mr. Curtin, while an expert in the field of trusts and estates, does not appear to have any

experience in adjudicating such matters.

                (b)    Timing of Resolution of Division of Trust and Plaintiff’s Objections to
                       Disbursements.

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                       (i)     Defendant’s position. Per the guidance given by the Court at the

December 22, 2010 status conference that the settlement of this case should be finalized as

quickly as possible, Defendant contends that any challenges by Plaintiff to any disbursements

from the Israel Feld Trust (as described supra in Paragraph 2(a)) should be made and resolved

without delay and as quickly as possible. There are three (3) years of disbursements at issue –

2008, 2009, 2010. Plaintiff has had in her possession a detailed listing of all disbursements for

2008 and 2009 for some time now given that they were included in the annual accountings that

she received for those years. With respect to the accounting for the disbursements for 2010,

Defendant has proposed that it be provided to Plaintiff within two (2) weeks of the January 21,

2011 status conference, that Plaintiff should be required to raise any objection within one (1)

week of receipt of this accounting, that Defendant should be required to respond within one (1)

thereafter, and that if any unresolved objections exist, then they should be submitted by Plaintiff

to the special master within one (1) week thereafter, with Defendant to respond accordingly.

Defendant sees no reason why this schedule is unworkable or why, as Plaintiff now suggests, her

objections should be deferred until after the parties reach agreement on the terms of the

Settlement and Release Agreement and attachments (as described supra in Paragraph 1). This

would only delay final settlement and resolution of this matter.

                       (ii)    Plaintiff’s position. Consistent with Your Honor’s express

direction at the December 22, 2011 status conference, Plaintiff believes the agreements should be

finalized and the Trust divided promptly, and that this work should take precedence over the

relatively less complicated issues, if any, which might arise regarding disbursements. As noted

above, there are numerous documents which must be drafted and the trust assets reviewed prior

to division of the Trust. If the parties complete this work over the next thirty days, by the time of


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the next status conference the Trust should be ready for immediate division or, if any dispute

arises, it will be ready for prompt resolution. Plaintiff proposes that by February 4, 2011, the

Defendant submit a listing and proposed division of trust assets to the Plaintiff. One week later,

by February 11, 2011, the Plaintiff will provide a response, including any objection she has with

respect to any aspect of the division. The parties will attempt to resolve any dispute prior to the

next status conference. If no resolution is achieved, the parties will submit the matter to the

Special Master as described in the above paragraph. Any dispute regarding the inclusion or

exclusion of terms in the settlement documents may be resolved by Judge Kay. Once the

settlement documents are finalized and the division of the Trust is set, the Trust will be divided

and the various documents executed and filed.

           Thereafter, the parties can engage in the dispute resolution process regarding post-2007

disbursements. Given all that must be completed prior to division of the Trust, along with the

ongoing discovery obligations in the shiva case, Plaintiff believes the parties should focus their

efforts on division of the Trust.



Dated: January 18, 2011                             Respectfully submitted


                                                     /s/ Matthew H. Kirtland

                                                    Matthew H. Kirtland (D.C. Bar No. 456006)
                                                    John M. Simpson (D.C. Bar No. 256412)
                                                    FULBRIGHT & JAWORSKI L.L.P.
                                                    801 Pennsylvania Avenue, NW
                                                    Washington, D.C. 20004-2623
                                                    Telephone: 202-662-0200
                                                    Attorneys for Kenneth Feld and
                                                    Feld Entertainment, Inc.




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